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UN|TED STATES DlSTRlCT COURT
WESTERN DlSTRlCT OF TENNESSEE
EASTERN DlVlSlON

UN|TED STATES OF AMER|CA

-v- 05-10004-01-T

 

MAR¥ CHR|ST|NE GREEN
Michael Stengel. CJA
Defense Attorney
50 N. Front St.; Ste. 850
Memphis, TN 38103

 

AMENDED JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on Nlay 2, 2005. According|y, the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & Section M Conc|uded Number(sl

21 U.S.C. § 846 Conspiracy to Nlanufacture and/or 10/28/2004 1
Distribute Nlethamphetamine

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

Count(s) 2, 3, 4 and 5 dismissed on the motion of the United States.
lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence'.
Defendant’s Date of Birth: 12/12/1963 August 16, 2005
Deft’s U.S. lVlarshal No.: 20102-076

Defendant’s N|ailing Address:
122 E|dad Road
Trenton, TN 38382

QMMA.M

J ES D. TODD
C |EF UNlTED STATES DlSTRlCT JUDGE

Thls documem¢nmdonm m n l August 3 0 , 2005

with Flute 55 and/or 32(b| FRC:P on _,: q i gm I°°m| jp"}§ ml

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|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 30 Months as to Count ‘l of the lndictment.

The Court recommends to the Bureau of Prisons: Defendant serve sentence at FPC
Alderson, West Virginia, where she can participate in a long term residential drug treatment
program.

The defendant is remanded to the custody of the United States lV|arsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Nlarshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state

or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this oourt.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant sha|i report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ofticer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons',

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled su bstance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are i||egaily so|d, used,
distributed or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permits probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer‘,

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ofhcer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Nionetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and/or treatment for
substance abuse as directed by the Probation Office.

2. The defendant shall participate in a mental health treatment program (either inpatient or
outpatient) as directed by the Probation Office.

3. The defendant shall cooperate in the collection of DNA as directed by the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Tota| Restitution

$100.00 $998.40

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The Speciai Assessment shall be due immediately
F|NE
No fine imposed.
RESTITUTION

Restitution in the amount of $998.40 is hereby ordered. The defendant shall make
restitution to the following victim in the amounts listed beiow. Restitution shall be paid in
monthly installments equal to ten percent (10%) of the defendants total gross monthly
household income from ali sources. The defendant shall be required to regularly furnish
proof of her gross monthly household income, upon which the amount of monthly payments
shall be based, to the U. S. Probation Office. The defendant shall not incur new credit
charges or open any additional lines of credit without the permission of the U. S. Probation
Officer, while any portion of the restitution remains unpaid.

Priority Order
Total Amount Amount of or Percentage
Name of pal£ee of Loss Restitution Ordered of Payment

DRUG ENFORCEMENT $998.40
ADMiN|STRATiON,

Attn: APPROPR|AT|ON

NO. H2-2004-O404-0119

if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenNise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

 

ISTRIC COUR - WESRNTE D"CTRIT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 1:05-CR-10004 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

Jerry R. Kitchen

U.S. ATTORNEY
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Jackson7 TN 38301

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STENGEL LAW FIRM
50 North Front Street

Ste. 850

Memphis7 TN 38103--111

Honorable James Todd
US DlSTRlCT COURT

